Form B271 (Official Form 271)

                                  United States Bankruptcy Court
                                          Southern District of Alabama
                                              Case No. 12−01110
                                                      Chapter 7
    In re:

       Omar Flores Walstad
       8931 Sherman Rd.
       Foley, AL 36535
       Social Security No.:
       xxx−xx−7852


                                                FINAL DECREE
    The estate of the above named debtor has been fully administered. Denise I. Littleton is discharged as trustee
    of the estate of the above−named debtor and the bond is cancelled:

    The Chapter 7 case of the above named debtor is closed; and the surety or sureties on said bond be, and they
    hereby are released further liability thereunder, except any liability which may have accrued during the time
    such bond was in effect.




    Dated: 8/7/12




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                                          Decree 7/13 Page 1 of 1
